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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                      CASE NO. 14-21385-CIV-LENARD/GOODMAN

   WREAL, LLC,

         Plaintiff,

   v.

   AMAZON.COM, INC.,

          Defendant.
         ________________ /

               REPORT AND RECOMMENDATIONS ON DEFENDANT’S
                         MOTION FOR BILL OF COSTS

         In this trademark-infringement case, Plaintiff Wreal, LLC sued Defendant

   Amazon.com, Inc., alleging that Amazon’s Fire TV product launch infringed on Wreal’s

   FyreTV and FyreTV.com trademarks, which Wreal uses to identify its hardcore

   pornography services. Alleging that consumers would mistakenly believe that Amazon

   (the junior user) is the source, affiliate, or sponsor of Wreal’s (the senior user) FyreTV

   services, Wreal initiated this suit against Amazon. [ECF No. 1].

         After United States District Judge Joan A. Lenard referred Amazon’s Motion for

   Summary Judgment [ECF Nos. 205; 224; 341], the Undersigned entered a Report and

   Recommendations recommending that the District Court grant summary judgment in

   favor of Amazon [ECF No. 378]. On July 26, 2019, the District Court adopted the Report
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   and Recommendations, granting summary judgment in favor of Amazon, and dismissing

   Wreal’s claims for trademark infringement under the Lanham Act and Florida law. [ECF

   No. 381]. On the same day, the District Court entered Final Judgment in favor of Amazon.

   [ECF No. 382].

          On August 23, 2019, Amazon filed its Motion for Bill of Costs and Supporting

   Memorandum of Law, seeking $63,764.42 in allegedly taxable costs comprised of fees of

   the Clerk, fees for printed or electronically recorded transcripts, fees for black and white

   printing, fees for color printing, fees for the cost of black and white copying, fees for the

   cost of color copying, fees for necessary copies (outside of photocopy services), fees for

   interpreter services, and a 1.95% interest applied to total costs. [ECF No. 383].

          On September 6, 2019, Wreal filed its Opposition to Amazon’s Bill of Costs,

   arguing that Amazon’s Bill of Costs should be significantly reduced by $32,462.78

   (leaving Amazon with $32,656.02 in costs) because Amazon seeks non-taxable pro hac vice

   costs, deposition transcript costs incurred for the convenience of counsel, fees for

   excessive and unnecessary prints and photocopies, and because it fails to show the

   necessity of the printing and copying costs. [ECF No. 393]. Amazon filed its Reply in

   Opposition to Wreal’s Response on September 13, 2019. [ECF No. 396].

          For the reasons stated below, the Undersigned respectfully recommends that the

   District Court grant in part and deny in part Amazon’s motion for bill of costs and award

   Amazon $43,497.34 in taxable costs ($20,267.08 less than the requested amount) with a



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   post-judgment interest rate of 1.95% applied.

   I.     Legal Standard

          Absent a federal statute, civil procedure rule, or order to the contrary, a prevailing

   party is entitled to an award of its costs. Fed. R. Civ. P. 54(d)(1). The prevailing party must

   file a bill of costs, adhering to the guidelines outlined in Local Rule 7.3(c), which

   specifically references 28 U.S.C. § 1920. Under § 1920, the following costs are taxable

   against the losing party:

          (1) Fees of the clerk and marshal;
          (2) Fees for printed or electronically recorded transcripts necessarily
              obtained for use in the case;
          (3) Fees and disbursements for printing and witnesses;
          (4) Fees for exemplification and the costs of making copies of any materials
              where the copies are necessarily obtained for use in the case;
          (5) Docket fees under section 1923 of this title;
          (6) Compensation of court appointed experts, compensation of interpreters,
              and salaries, fees, expenses, and costs of special interpretation services
              under section 1828 of this title.

   28 U.S.C. § 1920.

          Although a prevailing party is entitled to taxable costs, the court can still exercise

   discretion in awarding the costs that § 1920 enumerates. Crawford Fitting Co. v. J.T.

   Gibbons, Inc., 482 U.S. 437, 441-42 (1987). When challenging whether costs are taxable, “the

   losing party bears the burden of demonstrating that a cost is not taxable, unless the

   knowledge regarding the proposed cost is within the exclusive knowledge of the

   prevailing party.” Monelus v. Tocodrian, Inc., 609 F. Supp. 2d 1328, 1333 (S.D. Fla. 2009)

   (internal citations omitted). Nevertheless, the court is still limited to taxing only those


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   costs specifically authorized by statute. E.E.O.C v. W&O, Inc., 213 F.3d 600, 620 (11th Cir.

   2000) (citing Crawford Fitting Co., 482 U.S. at 445).

   II.    Analysis

          As the prevailing party in this case, Amazon is requesting that the Court award it

   costs under 28 U.S.C. § 1920; see, e.g., Katz v. Chevaldina, 127 F. Supp. 3d 1285, 1292 (S.D.

   Fla. 2015) (“Upon granting Defendant’s motion for summary judgment, judgment was

   entered in favor of Defendant on all counts. Thus, Defendant is the prevailing party in

   this action and is entitled to costs under Fed. R. Civ. P. 54(d).”); Powell v. Carey Int'l, Inc.,

   548 F. Supp. 2d 1351, 1355 (S.D. Fla. 2008) (citing Fireman's Fund Ins. Co. v. Tropical

   Shipping and Constr. Co., Ltd., 254 F.3d 987, 1012 (11th Cir. 2001)) (“The Eleventh Circuit

   consistently supports shifting costs if the prevailing party obtains judgment on even a

   fraction of the claims advanced.”).

          Amazon seeks the following costs that it alleges are taxable: (1) fees of the clerk for

   five pro hac vice applications for counsel, totaling $375; (2) fees for printed or electronically

   recorded transcripts, totaling $49,744.29; (3) fees and disbursements for black and white

   printing, totaling $2,303.60; (4) fees and disbursements for color printing, totaling $2,685;

   (5) fees for the costs of necessary black and white copies, totaling $292.10; (6) fees for the

   costs of making copies of necessary color copies, totaling $186; (7) fees for the costs of

   making copies of necessary “outside photocopy services,” totaling $7,528.43; (8)

   interpreters and special interpretation services, totaling $650; and (9) 1.95% interest



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   applied to the total costs. [ECF No. 383-1, pp. 2-3].

          In its opposition, Wreal argues that the following requested fees are non-taxable

   and should not be awarded to Amazon: (1) fees for pro hac vice applications ($375); (2)

   deposition transcript expenses for video transcripts, storage and synchronization,

   expedited shipping and handling, color exhibits, mini/condensed transcripts, ASCII

   versions, and realtime expenses ($17,738.27); (3) costs for printing ($4,988.60); and (4)

   costs for copying ($9,360.91). [ECF No. 393, pp. 3-8].

          The Undersigned will discuss each of the categories of requested costs below, on

   an item-by-item basis:

          1.     Pro Hac Vice Application Costs

          First, Amazon seeks reimbursement in the amount of $375 for pro hac vice filing

   fees for five attorneys ($75 fee for each attorney). Since “fees of the clerk and marshal”

   are permissible under 28 U.S.C. § 1920(1), Amazon argues that the pro hac vice fees are

   taxable. [ECF No. 383-1, p. 3].

          In response, Wreal contends that the Court should disallow the fees for the pro hac

   vice filings since a party “ought not to bear a cost resulting from [anothers’] choosing an

   out of state attorney to defend themselves when competent in-state attorneys were

   available.” [ECF No. 393, p. 3]; Exhibit Icons, LLC v. XP Companies, LLC, No. 07-80824-CIV,

   2009 WL 3877667, at *1 (S.D. Fla. Nov. 18, 2009). Amazon argues that the pro hac vice filing




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   fees should be recovered because Wreal selected the forum and compelled Amazon to

   defend itself in Florida. [ECF No. 383-1, p. 4].

          For the denial of these fees, Wreal cites Eagle Ins. Co. v. Johnson, 982 F.Supp. 1456,

   1459-60 (M.D. Ala. 1997), aff’d, 162 F.3d 98 (11th Cir. 1998), where the Eleventh Circuit

   affirmed the denial of the cost of pro hac vice applications on the ground that it was not a

   statutory fee. Additionally, Wreal also relies on Exhibit Icons, LLC, where the court

   followed Johnson in determining that “the pro hac vice fee[s] [are] an expense of counsel,

   not the client, and is thus not properly recoverable under 28 U.S.C. § 1920 as fees of the

   clerk.” 2009 WL 3877667, at *1. The Exhibit Icons Court further explained that the plaintiff

   “ought not to bear a cost resulting from the Defendants choosing an out of state attorney

   to defend themselves when competent in-state attorneys were available.” Id.

          The Undersigned is persuaded by the reasoning in Johnson and Exhibit Icons, where

   the courts determined that pro hac vice fees are not recoverable under Section 1920. The

   Undersigned respectfully recommends that the District Court deny the requested $375

   pro hac vice filing fees.

          2.      Deposition Transcript Costs

          Amazon seeks $49,744.29 for the deposition transcript costs for 22 deponents. [ECF

   No. 383-1, pp. 4-6]. In its motion, Amazon states that these depositions were “necessarily

   obtained for use in this case” and are taxable costs. [ECF No. 383-1, p. 5]. Six of the

   depositions were used in support of Amazon’s summary judgment motion. [ECF No. 383-



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   1, p. 6].

           “The taxation of deposition costs is authorized by § 1920(2).” W&O, Inc., 213 F.3d

   at 620. The factual question of whether specific deposition and transcript costs are taxable

   depends on whether the deposition was “necessarily obtained for use in the case.” Id. at

   621; see also Rodriguez v. Marble Care Int’l, Inc., 862 F. Supp. 2d 1316, 1320 (S.D. Fla. 2012).

   If a deposition cost was incurred merely for convenience, to aid in thorough preparation,

   or for purposes of investigation only, then the cost is not recoverable. W&O, Inc., 213 F.3d

   at 620 (internal citations omitted); see also Rodriguez v. M.I. Quality Lawn Maint., Inc., No.

   10-21031-CIV, 2012 WL 664275, at *4 (S.D. Fla. Feb. 9, 2012). It is the losing party’s burden

   to show that “specific deposition costs . . . [are] not necessary for use in the case[.]”

   Monelus, 609 F. Supp. 2d at 1337 (citing W&O, Inc., 213 F.3d at 621).

           In reviewing the history of this heavily contested, multi-year litigation, the

   Undersigned does not find this amount of depositions (22) to be unreasonable. However,

   after analyzing the deposition transcript invoice, the Undersigned finds that the

   requested $49,744.29 amount includes certain fees associated with the transcript costs,

   including expedited shipping and handling fees, condensing of the transcript into a

   “mini” transcript, ASCII versions, color exhibits, costs for tabs, and realtime expenses.

   [ECF No. 393, p. 5].

           Wreal objects to these additional costs, arguing that where such extra services are

   only for the convenience of counsel, they are not reimbursable. [ECF No. 393, pp. 4-6]; see,



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   e.g., Johnson v. Communs. Supply Corp., No. 05-60510-CIV, 2006 WL 3709620, at *2 (S.D. Fla.

   Dec. 14, 2006) (“[C]onsistent with the weight of authority, the cost of [mini] transcripts is

   not recoverable.”); Goodwall Const. Co. v. Beers Const. Co., 824 F. Supp. 1044, 1066 (N.D.

   Ga. 1992) (“[W]here the deposition costs were merely incurred for convenience, to aid in

   thorough preparation, or for purposes of investigation only, the costs are not

   recoverable.”); Suarez v. Tremont Towing, Inc., No. 07-21430-CIV, 2008 WL 2955123, at *3

   (S.D. Fla. Aug. 1, 2008) (denying courier handling and delivery fees); Spatz v. Microtel Inns

   & Suites Franchising, Inc., No. 11-60509-CIV, 2012 WL 1587663, at *6 (S.D. Fla. May 4, 2012)

   (internal citation omitted) (denying costs such as “mini-transcripts, CDs and DVDs, and

   shipping and handling” where “Defendants have not shown they incurred these costs for

   any reason other than counsel’s convenience”); Shire Dev., LLC v. Mylan Pharm., Inc., No.

   8:12-CV-1190-T-36AEP, 2018 WL 6311472, at *5 (M.D. Fla. Nov. 9, 2018) (finding that

   “expedited or condensed transcripts, scanning, CD litigation packages, summaries,

   shipping and handling, delivery costs, and express mail . . . court-reporter fees, shipment

   of depositions, costs for binders, tab, technical labor, and realtime expenses” are costs for

   convenience under § 1920); Responsible Me, Inc. v. Evenflo Co., Inc., No. 06-61736, 2009 WL

   528247, at *8 (S.D. Fla. Mar. 2, 2009) (“[M]ost courts have found that the costs for shipping,

   exhibit scanning, disk copies and mini-scripts are not taxable as costs.”); Waste Servs., Inc.

   v. Waste Mgmt. Inc., No. 6:05-cv-320, 2007 WL 1174116, at *4 (M.D. Fla. Apr. 18, 2007)

   (finding text to video synchronization not taxable); Feinschreiber v. United States, No. 01-



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   3628, 2002 WL 31084156, at *2 (S.D. Fla. Aug. 12, 2002) (denying recovery for ASCII draft

   transcripts and manuscripts).

            Wreal argues that “Amazon appears to have simply dumped every deposition-

   related invoice and demanded reimbursement for all costs, without explaining why

   many seemingly unnecessary conveniences should be taxable.” [ECF No. 393, p. 6].

            A review of Amazon’s charts of costs [ECF Nos. 383-3] and each of Amazon’s

   submitted invoices [ECF No. 383-5] informs the discussion of whether the specific costs

   associated with each of the videotaped depositions are recoverable. The analysis is

   outlined below:

            a. Costs of transcribing and videotaping the depositions

            Wreal contends that Amazon should not be permitted to recover the costs of

   videotaping the depositions since the case never made it to trial. [ECF No. 393, p. 5].

   Nevertheless, “[t]he prevailing party may recover the costs of transcribing and

   videotaping a deposition under § 1920 if the notice of deposition indicated that the

   deposition would be recorded by stenographic and nonstenographic means, the

   opposing party did not object to the method of recordation prior to the deposition, and

   the prevailing party explains why it was necessary to obtain both a transcript and video

   recording of the deposition.” Morrison v. Reichhold Chems., Inc., 97 F.3d 460, 465 (11th Cir.

   1996).

            Wreal argues that Amazon should not be permitted to obtain the cost of obtaining



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   the actual videotapes from the videotaped deposition. [ECF No. 393, p. 4]. Amazon

   contends that Wreal never objected to its notices of taking videotaped depositions and

   that the inherent purpose of a videotaped deposition is to be able to use the footage at

   trial. [ECF No. 396, p. 3].

          Contrary to Wreal’s position, a prevailing party can “recover the costs of

   transcribing and videotaping a deposition under § 1920 if the notice of deposition

   indicated that the deposition would be recorded by stenographic and nonstenographic

   means, the opposing party did not object to the method of recordation prior to the

   deposition, and the prevailing party explains why it was necessary to obtain both a

   transcript and video recording of the deposition.” Shire Dev., LLC v. Mylan Pharm., Inc.,

   No. 8:12-CV-1190-T-36AEP, 2018 WL 6311472, at *4 (M.D. Fla. Nov. 9, 2018); see also

   Bourne v. Sch. Bd. of Broward Cty., No. 10-60942-CIV, 2012 WL 12894236, at *2 (S.D. Fla.

   May 9, 2012) (“The depositions were noticed by the Defendant, who could not have

   presumed at that time that the case would not go to trial, when the video depositions

   might well have been utilized for the effect proposed in the reply. The Court is satisfied

   with the Defendant’s explanation that the video depositions were necessarily obtained

   for use in the case, and not merely obtained for the convenience of counsel.”).

          Amazon’s notices of deposition specifically mentioned that the depositions would

   be videotaped and Wreal never objected to the notices. [ECF No. 396, p. 3]. In fact, Wreal

   also titled each of its notices as “Notice of Taking Videotaped Deposition,” eliminating



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   any doubt that defense counsel did not understand that strategy behind videotaping a

   deposition for the possibility of using the video at trial. Id.

          Because the costs of videotaped depositions, including the costs of the transcripts

   and videos, are taxable, the Undersigned recommends that that the costs of the

   videotaped depositions should be granted.

          b. ASCII versions, rough drafts, and condensed or “mini” transcripts

          Courts routinely hold that the ASCII versions, rough drafts, and condensed or

   “mini” transcripts are for the convenience of counsel and should not be taxable costs. See,

   e.g., Klayman v. Freedom’s Watch, Inc., No. 07-22433-CIV-HUCK, 2008 WL 4194881, at *7

   (S.D. Fla. Sept. 12, 2008) (“The costs for ASCII disks, expedited shipping charges, CD’s,

   electronic files, miniscript, VHS encoding, and videographer appearance fee are not

   recoverable.”); Feinschreiber, 2002 WL 31084156, at *2 (“The undersigned finds that the

   costs for ASCII and mini-u-script were incurred solely for the convenience of defense

   counsel and are thus unrecoverable.”); Selma Hous. Dev. Corp. v. Selma Hous. Auth., No.

   CV 04-0449-WS-B, 2005 WL 8158927, at *5 (S.D. Ala. Oct. 24, 2005) (finding that ASCII

   versions or “minuscripts” are not recoverable because they are “unquestionably not

   necessary” and “epitomize costs merely incurred for convenience”).1




   1
          The Court cited Harkins v. Riverboat Services, Inc., 286 F. Supp. 2d 976, 980-81 (N.D.
   Ill. 2003) for the rule that “minuscripts” and other ancillary services concerning
   depositions are not recoverable.


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          Accordingly, the Undersigned recommends that Amazon’s request for the costs

   of ASCII versions of transcripts, rough drafts, and “mini” transcripts be denied; a

   reduction of the requested costs in an amount totaling $2,720.75.

          c. Video synchronization

          Wreal also argues that “synchronization” should be excluded from Amazon’s

   claimed costs because it is “merely for the convenience of counsel.” [ECF No. 393, p. 6].

   With regard to video synchronization, “video synchronization fees may [ ] be awarded

   where they help the jury and the Court and conserve time.” Procaps v. Patheon Inc., No.

   12-24356-CIV, 2016 WL 411017, at *3 (S.D. Fla. Feb. 2, 2016) (citing Frasca v. NCL (Bahamas)

   Ltd., No. 12-20662, 2014 WL 4206697, at *5 (S.D. Fla. Aug. 25, 2014)).

          With the potential for trial looming in this case, video synchronization would help

   the Court run the trial in an efficient manner if the case made it to that point.

   Synchronization is “critical” in “assist[ing] the Court in ruling on the parties’

   designations of the exact excerpts to be played.” Cordell Consultant, Inc. v. Abbott, No. 11-

   80416-CIV, 2017 WL 8794778, at *7 (S.D. Fla. Dec. 15, 2017), report and recommendation

   adopted, No. 9:11-CV-80416, 2018 WL 1795450 (S.D. Fla. Jan. 31, 2018). “Even though this

   case did not go to trial and therefore the video synchronization was not used by the Court,

   . . . it seems reasonable to allow these costs.” Id.

          Accordingly, the Undersigned recommends that the video synchronization costs

   be granted.



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          d. Express or expedited shipping and handling costs

          Amazon’s deposition transcript invoices contain expedited shipping and handling

   costs. Wreal argues that “expedited shipping and handling” should be excluded from

   Amazon’s recovery of costs. [ECF No. 393, p. 6].

          Courts regularly find that expedited shipping or delivery fees are not recoverable.

   See, e.g., Klayman, 2008 WL 4194881, at *7 (“The costs for . . . expedited shipping charges

   . . . are not recoverable.”); Responsible Me, Inc., 2009 WL 528247, at *8 (“With regard to the

   additional charges included in the five deposition transcripts, most courts have found

   that the costs for shipping, exhibit scanning, disk copies and mini-scripts are not taxable

   as costs.”); Spatz, 2012 WL 1587663, at *6 (“Defendants seek reimbursement for

   miscellaneous costs associated with the four transcribed depositions, including mini-

   transcripts, CDs and DVDs, and shipping and handling. . . The costs of such additional

   services, when incurred solely for the convenience of counsel, are not reimbursable.”);

   Shire Dev., LLC, 2018 WL 6311472, at *5 (“Costs for convenience under § 1920 include . . .

   shipping and handling, delivery costs, and express mail . . . shipment of depositions . . .

   which are incurred for the convenience and not necessity of counsel, are not taxable.”).

          While Amazon generally argues that the expedited costs were incurred because of

   “extreme deadline pressure” [ECF No. 396, p. 4], Amazon has not presented sufficient

   evidence demonstrating that several of its deposition transcripts were needed on an

   expedited basis.



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          The Undersigned is not convinced that the expedited delivery fees were truly

   necessary and recommends that expedited shipping and handling fees be denied; a

   reduction of the requested costs in an amount totaling $378.64.

          e. Realtime expenses

          Wreal argues that Amazon should not be entitled to reimbursement for realtime

   costs. [ECF No. 393, p. 6]. In its reply, Amazon does not explain why the realtime costs

   listed on the transcript invoices were necessary.

          Courts have found that realtime expenses are not recoverable since they are for

   the convenience of counsel. See, e.g., Shire Dev., LLC, 2018 WL 6311472, at *5 (finding that

   “realtime expenses, which are incurred for the convenience and not necessity of counsel,

   are not taxable”); Lehman Bros. Holdings v. Hirota, No. 8:06-CV-2030-T-24MSS, 2010 WL

   3043653, at *4 (M.D. Fla. July 30, 2010) (“[C]osts incurred for the convenience of counsel,

   such as for realtime, are not taxable.”).

          Accordingly, the Undersigned recommends that the realtime expenses be denied;

   a reduction of the requested costs in an amount totaling $4,806.80.

          f. Color exhibits and tabbing fees

          Wreal argues that the costs of color exhibits on the deposition transcript invoices

   should be excluded from recoverable costs because they were “merely for the

   convenience of counsel.” [ECF No. 393, p. 6]. The invoices also show charges for exhibit

   tabs. [ECF No. 383-5]. In its reply, Amazon does not provide a compelling reason to



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   support the recovery of color exhibits or tabs from the deposition transcripts. Amazon

   vaguely notes that color copies for the deposition transcripts were necessary because of

   “extreme deadline pressure” and to help counsel “better prepare their case” [ECF No.

   396, p. 4]; however, the Undersigned does not see how deadline pressure necessitates

   color or tabbed exhibits. Indeed, extra expenses such as tabbed or color exhibits have been

   found to be “for the convenience of counsel.” See Marler v. U-Store-It Mini Warehouse Co.,

   No. 09-60613-CIV, 2011 WL 13174437, at *4 (S.D. Fla. May 26, 2011), report and

   recommendation adopted, No. 09-60613-CV, 2011 WL 13174767 (S.D. Fla. July 5, 2011).

          Amazon has not met its burden in providing sufficient detail to justify the costs

   related to the color and tabbed deposition exhibits, and the Undersigned is unable to

   determine whether the fees were for the convenience of counsel. In the absence of a cogent

   explanation from Amazon in support of their request for color and tabbed deposition

   exhibits, the Undersigned recommends that costs for color and tabbed deposition

   exhibits be denied; a reduction of the requested costs in an amount totaling $718.88.

          g. Litigation packages costs

          Several of the invoices for the deposition transcripts also list “Litigation Package”

   as a fee, which Amazon is requesting from Wreal. [ECF No. 383-5]. “The party seeking

   costs must provide sufficient detail and documentation regarding the requested costs so

   the opposing party may challenge the costs and the court may conduct a meaningful

   review of the costs.” Johnston v. Borders, No. 615CV936ORL40DCI, 2017 WL 1968352, at



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   *5 (M.D. Fla. Apr. 24, 2017), report and recommendation adopted, No. 615CV936ORL40DCI,

   2017 WL 1957278 (M.D. Fla. May 11, 2017) (citing Lee v. Am. Eagle Airlines, Inc., 93 F. Supp.

   2d 1322, 1335-36 (S.D. Fla. 2000)). “Failure to provide sufficient detail or supporting

   documentation verifying the costs incurred and the services rendered can be grounds for

   denial of costs.” Id. As previously stated, “where the deposition costs were merely

   incurred for convenience, to aid in thorough preparation, or for purposes of investigation

   only, the costs are not recoverable.” W&O Inc., 213 F.3d at 620.

          Amazon has not met its burden in providing sufficient detail to justify the costs

   related to the “Litigation Package” fees, and the Undersigned is unable to determine

   whether the fees were for the convenience of counsel. Accordingly, the Undersigned

   recommends that Litigation Package fees be denied; a reduction of the requested costs in

   an amount totaling $565.50.

          h. Cloud storage costs

          Wreal argues that the cloud or storage costs delineated on Amazon’s deposition

   transcript invoices should not be recoverable because they were “merely for the

   convenience of counsel.” [ECF No. 393, p. 6]; see Garden-Aire Vill. S. Condo. Ass'n, Inc. v.

   QBE Ins. Corp., No. 10-61985-CIV, 2013 WL 12086655, at *2 (S.D. Fla. June 13, 2013)

   (finding storage costs to be non-recoverable) (citing Klayman, 2008 WL 4194881, at *5-6

   (denying requested storage costs)).




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          In its reply, Amazon does not address Wreal’s argument regarding cloud storage

   costs for the deposition transcripts. With the printed and video deposition transcripts

   delivered to defense counsel, the Undersigned cannot think of a good reason (besides the

   convenience of counsel) why Amazon would require these transcripts to be stored in the

   cloud storage systems of the respective court reporting companies.

          Since Amazon has not met its burden to provide sufficient detail to justify the costs

   related to the cloud storage fees and the Undersigned is unable to determine whether the

   cloud storage fees were for the convenience of counsel, the Undersigned recommends

   that cloud storage fees be denied; a reduction of the requested costs in an amount totaling

   $572.00.

          i. Summary of recommended video deposition costs

          Accordingly, the Undersigned respectfully recommends that the costs of

   obtaining the videotaped depositions should be permitted, but the costs incurred merely

   for counsel’s convenience (i.e., costs of expedited shipping and handling, color and

   tabbed exhibits, litigation packages, mini transcripts, ASCII formatting, rough draft

   transcripts, realtime fees, and cloud storage) should be denied.

          The Undersigned has analyzed Amazon’s deposition transcript records and

   respectfully recommends that $9,762.57 of the $49,744.29 requested fees for the video

   depositions should be denied, reducing the amount to $39,981.72.




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          3.     Printing Costs

          Amazon seeks to recover $4,988.60 in printing costs under 28 U.S.C. § 1920(3);

   however, Amazon has the burden of demonstrating how these costs were necessarily

   incurred in the case. C.f. Nolasco v. AKS Cartage Corp., No. 17-21728-CIV, 2018 WL 4905873,

   at *3 (S.D. Fla. Sept. 5, 2018) (not awarding printing costs under § 1920(3) because “the

   plaintiff does not provide an explanation for why these printing costs were necessarily

   incurred in this case”); People for Ethical Treatment of Animals, Inc. v. Miami Seaquarium &

   Festival Fun Parks, LLC, No. 15-22692-CIV, 2017 WL 7513237, at *6 (S.D. Fla. May 31, 2017),

   report and recommendation adopted, No. 1:15-CV-22692-UU, 2017 WL 7411187 (S.D. Fla. July

   24, 2017) (denying printing costs where no “backup documentation” was provided for

   the printing, only invoices for copying, and “[a]bsent supporting documentation,

   Defendant has failed to provide sufficient evidence for the undersigned to evaluate the

   printing costs”).

          Since Amazon failed to provide any supporting documentation for its color or

   black and white printing costs besides a vague itemized chart [ECF No. 383-3, pp. 8-12],

   and failed to give convincing reasoning for why these prints were necessary, the

   Undersigned respectfully recommends denying Amazon’s printing costs in full.




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          4.      Copying Costs

          Amazon seeks to recover $9,360.91 for in-house and outside copying costs under

   28 U.S.C. § 1920(4). Once again, Amazon has the burden of demonstrating the necessity

   of these copying costs and that the costs were not simply for the convenience of counsel.

               a. In-house copying costs (black & white and color copies)

          In its first set of copying costs, Amazon points the Undersigned to two charts (one

   for black and white copies and one for color copies) of in-house copying costs totaling

   $478.10. [ECF No. 393-3, pp. 13-14]. Out of the charts’ collective eight entries of copying

   costs, only one entry describes the purpose of the copying charge (“Job Id -- 3620;

   Amazon’s response to the motion for preliminary injunction and declarations with

   exhibits”). [ECF No. 383-3, p. 13]. The remainder of the entries merely state “Photo Copy;

   Reproduction Copy Charges,” or a similarly vague description, as the description in the

   charts’ narrative section. [ECF No. 393-3, pp. 13-14].

          It is not enough to claim that the copies are necessary, a party must explain why

   the copies were necessary. A.T.O. Golden Constr. Corp. v. Allied World Ins. Co., No. 17-

   24223-CIV, 2019 WL 2245507, at *4 (S.D. Fla. Apr. 17, 2019) (“Here, we are unconvinced

   that Plaintiff is entitled to the full amount of copying costs requested because Plaintiff

   never articulates how each category of documents were used or intended to be used.”);

   see also Cullens v. Georgia Dep’t of Transp., 29 F.3d 1489, 1494 (11th Cir. 1994) (“The court

   did not err in disallowing the photocopying costs. Plaintiffs did not present required



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   evidence regarding the documents copied including their use or intended use.”). Besides

   one entry, Amazon’s copying costs charts are unhelpful and do not explain why the copy

   charges were necessary.

          Accordingly, the Undersigned recommends that $17.20 of Amazon’s copying

   costs reflected in the charts be granted; the Undersigned recommends that the remaining

   $460.90 be denied.

             b. Outside photocopy services

          In its second set of copying costs, outside photocopy services from copying

   vendors, Amazon provides a chart and the invoices from the copying vendors with costs

   totaling $7,528.43. [ECF Nos. 383-3, pp. 15-17; 383-5, pp. 97-138]. From the chart and the

   invoices, there are only six out of 38 entries (or listed copy jobs) that provide rough

   descriptions of the copies. [ECF No. 383-5, pp. 16-17]. These entries describe the copies as

   being made in preparation for certain depositions or hearings. Id. (see entry numbers 24,

   25, 32, 33, 36, and 38). The remaining 32 entries provide no discernable description of the

   copied documents except for the following examples of vague descriptions: “Documents

   for attorney review,” “Blowbacks; color copies; tabs; red wells,” or “Documents

   requested by JNEL.” Id. at pp. 15-17. The 32 chart entries with vague descriptions link up

   to similarly vague invoices. [ECF No. 383-5, pp. 97-138].

          While courts do not require parties to “articulate the specific reasons for each

   photocopy – [a party] must do more than direct the Court to a hundred pages of invoices



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   and then leave it to the Court to determine whether those costs are necessary.” A.T.O.

   Golden Constr. Corp., 2019 WL 2245507, at *4 (denying the copying costs where the party

   failed to describe the categories of documents and provide explanation for why the copies

   were necessary); Perez v. Saks Fifth Ave., Inc., 2011 WL 13172510, at *10 (S.D. Fla. Feb. 14,

   2011) (“The undersigned will not rummage further through the photocopying invoices

   . . . in an attempt to guess whether the copies were necessarily produced.”).

          Amazon’s failure to meets its burden for the vast majority of its copying costs is a

   sufficient basis to deny the costs requested. See A.T.O. Golden Constr. Corp., 2019 WL

   2245507, at *4; Perez, 2011 WL 13172510, at *10 (“Defendant’s conclusory claim that it was

   necessary to make copies of the documents is insufficient to permit recovery.”).

          For the six copy jobs with adequate descriptions (entry numbers 24, 25, 32, 33, 36,

   and 38), the total fees amount to $2,982.72. For the corresponding invoices, the six

   invoices contain fees for the sole convenience of counsel (i.e., “custom tabs,” file folders,

   and red wells). The Undersigned recommends deducting these convenience fees from

   the amounts on the six invoices, making the revised total of fees for the six copy jobs

   $2,848.42.

                c. Summary of recommended copy costs

          Accordingly, the Undersigned respectfully recommends that $17.20 of Amazon’s

   in-house copying costs be granted as well as $2,848.42 of Amazon’s outside copying

   service fees, totaling $2,865.62.



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            5.      Interpreter Services

            Amazon requests $650 in fees for Spanish language interpretation services under

   28 U.S.C. § 1920(6) for interpretation services during the deposition of Wreal’s Fabio

   Vasco. [ECF No. 383-1, p. 9]; 28 U.S.C. § 1920(6) (“A judge or clerk of any court of the

   United States may tax as costs the following: . . . compensation of interpreters, and

   salaries, fees, expenses, and costs of special interpretation services under section 1828 of

   this title.”).

            Because interpretation services are costs are permitted under § 1920(6) and Wreal

   does not object to the requested costs, the Undersigned recommends granting the $650

   in costs for Spanish interpretation services to Amazon.

            6.      Interest

            Finally, Amazon seeks interest on the total costs taxed against Wreal pursuant to

   28 U.S.C. § 1961. See, e.g., BankAtlantic v. Blythe Eastman Paine Webber, Inc., 12 F.3d 1045,

   1052 (11th Cir. 1994) (“When a district court taxes costs against a losing party, the award

   of costs bears interest from the date of the original judgment.”) (citing Kaiser Aluminum &

   Chemical Corp. v. Bonjorno, 494 U.S. 827, 835 (1990) (pursuant to section 1961, “post-

   judgment interest properly runs from the date of the entry of judgment”). Wreal does not

   object to Amazon’s contention that it is entitled to post-judgment interest at a rate of

   1.95%.




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          Amazon is the prevailing party in this action, so the Undersigned recommends

   that the District Court find that it is statutorily entitled to post-judgment interest

   “calculated from the date of the entry of the judgment, at a rate equal to the weekly

   average 1-year constant maturity Treasury yield, as published by the Board of Governors

   of the Federal Reserve System, for the calendar week preceding [ ] the date of the

   judgment.” 28 U.S.C. § 1961(a). The Undersigned recommends that the interest rate for

   Amazon’s award of costs should be at the rate of 1.95%. [ECF No. 383-4].

   III.   Conclusion

          For the reasons stated above, the Undersigned respectfully recommends that the

   District Court grant in part and deny in part Amazon’s motion and award it $43,497.34

   in taxable costs ($20,267.08 less than the requested amount) with a post-judgment interest

   rate of 1.95% applied.

   IV.    Objections

          The parties will have 14 days from the date of being served with a copy of this

   Report and Recommendations within which to file written objections, if any, with the

   United States District Judge. Each party may file a response to the other party’s objection

   within 14 days of the objection. Failure to file objections timely shall bar the parties from

   a de novo determination by the District Judge of an issue covered in the Report and shall

   bar the parties from attacking on appeal unobjected-to factual and legal conclusions

   contained in this Report except upon grounds of plain error if necessary in the interest of



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   justice. See 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson,

   885 F.2d 790, 794 (11th Cir. 1989); 11th Cir. R. 3-1 (2016).

          RESPECTFULLY RECOMMENDED, in Chambers, in Miami, Florida, on

   December 26, 2019.




   Copies furnished to:
   The Honorable Joan A. Lenard
   All Counsel of Record




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